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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

CHRISTOPHER JEROME, an individual,
LEO JEROME, an individual, and STORY
COMPANIES, LLC, a Michigan limited
liability company,
                                              Case No. 1:16-cv-01116
             Plaintiffs,
                                              Hon. Janet T. Neff
v.

JOEL FERGUSON, an individual, VIRGIL
BERNERO, the Mayor of the City of Lansing,
in his individual capacity, LANSING
ECONOMIC AREA PARTNERSHIP, INC., a
Michigan non-profit corporation, ROBERT L.
TREZISE, JR., an individual, CLARK
CONSTRUCTION SERVICES, LLC, a
Michigan limited liability company,
CHARLES CLARK, an individual, FRANK
KASS, an individual, CONTINENTAL
DEVELOPMENT, INC., an Ohio corporation,
HALLMARK CAMPUS COMMUNITIES, an
Ohio partnership, FERGUSON
DEVELOPMENT, LLC, a Michigan limited
liability company, CHRISTOPHER
STRALKOWSKI, an individual,
FERGUSON/CONTINENTAL LANSING,
LLC, a Delaware limited liability company,
and RED CEDAR INVESTOR, LLC, a
Michigan limited liability company,

             Defendants.




                           BRIEF IN SUPPORT OF DEFENDANTS’
                              UNIFIED MOTION TO DISMISS

                             ORAL ARGUMENT REQUESTED
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                                        INTRODUCTION

       All proposed real estate development projects involve the risk of failure. When that risk

is realized, a party may seek intervention of the court only where the failure was caused by an

actionable wrong.

       Plaintiffs Chris Jerome, Leo Jerome, and Story Companies, LLC, were unsuccessful in

their efforts to become involved in a real estate development project known as the Red Cedar

Renaissance Project (the “Project”) in Lansing, Michigan. At the time the events alleged in the

Amended Complaint occurred, the Project was at a highly preliminary stage—Plaintiffs did not

even have any contracts in place for acquiring or developing the underlying property, let alone

any of the other plans and permits that would have been required to proceed with a development

of the contemplated scope. In short, Plaintiffs never acquired a legally protectable interest in the

Project, and their injury here is nothing more than the kind of disappointed hopes that are an

intrinsic risk of any proposed real estate project.

       Plaintiffs’ first attempt to conjure an actionable interest out of those disappointed hopes

resulted in an order directing them to re-plead. Their second attempt only serves to confirm that

the task is impossible. In an obvious effort to distract from the core deficiency of their case—the

lack of a legally recognizable interest in pursuing or developing the real estate projects1

described in the Amended Complaint—Plaintiffs vaguely allege a grand criminal racketeering

conspiracy involving ten defendants, including the Mayor of Lansing and a local non-profit

organization.

1
 In addition to the Project, Plaintiffs vaguely claim that the Defendants unlawfully interfered
with their interest in an alleged second “$90 million” real estate project, where they hoped to
partner with “Developer A” to pursue a development. But Plaintiffs do not identify who
“Developer A” is, nor do they describe any specific negotiations, discussions, proposals, or
contracts under which they expected to partner with “Developer A,” or any particulars
whatsoever regarding the alleged project they hoped to pursue with Developer A.
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       In supposed support of that contention, Plaintiffs loaded their 47 page, 213 paragraph

Amended Complaint with lurid, hyperbolic, and conclusory allegations that Plaintiffs were

somehow defrauded by a criminal bribery, extortion, mail and wire fraud “scheme”—the details

of which are, unsurprisingly, not supported by well-pleaded facts.

       The Amended Complaint cannot be maintained as a matter of law. As a threshold matter,

Plaintiffs lack standing to pursue this action. Furthermore, even if they had standing, none of the

five counts in the Amended Complaint sufficiently state a claim as a matter of law. Plaintiffs

cannot get past the pleading stage by cramming their complaint with irrelevant facts, hyperbole,

and bald characterizations; and melodramatic innuendo cannot substitute for legally sufficient

allegations of fact. As the Seventh Circuit astutely observed, “Rule 8(a) requires parties to make

their pleadings straightforward, so that judges and adverse parties need not try to fish a gold coin

from a bucket of mud.” U.S. ex rel. Garst v. Lockheed-Martin Corp., 328 F.3d 374, 378 (7th Cir.

2003). Here, Defendants and the Court could spend weeks trying to “fish a gold coin” from the

Amended Complaint, but will only come back with mud.

                                              FACTS

The Request for Qualifications and Proposals (“RFQP”) for the Project

       On June 6, 2012, the City of Lansing and the Lansing Economic Development

Corporation (“LEDC”) issued a Request for Qualifications and Proposals (the “RFQP”) for the

“Sale and Development of ‘Red Cedar Renaissance Site.’” (Am. Compl. at PageID.260, ¶ 50;

Defendants’ Exhibit 1.)2 The RFQP was issued “to make potential developers and other


2
  Because this is a motion under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the facts
discussed are those relevant facts alleged by the Plaintiffs, together with those established in the
documents on which their claims are based. When ruling on a Rule 12(b)(6) motion, courts
“may consider the Complaint and any exhibits attached thereto, public records, items appearing
in the record of the case and exhibits attached to defendant’s motion to dismiss so long as they
are referred to in the Complaint and are central to the claims contained therein.” Bassett v. Nat’l


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interested parties aware of a great development opportunity.” (Defendants’ Exhibit 1 at 1.) This

opportunity related to an approximately 12-acre parcel on the border between Lansing and East

Lansing, adjacent to Michigan State University, and fronted on East Michigan Avenue

(identified as “the main travel corridor between the Cities and the University”). (Id.)

       The stated objective of the RFQP was to identify a developer with the “vision,

experience, capacity and financial wherewithal” to purchase and develop the site. (Id.) Once

such a developer was identified, “[t]he selected developer will enter into a planning and

negotiation process with the LEDC and City that should ultimately result in a Comprehensive

Development Agreement.” (Id. (emphasis added).)

       The RFQP makes clear that selection of a developer would not create or confer any

enforceable right or expectation but instead merely constituted entry into a process of further

negotiations. In particular, the RFQP states:

       Acceptance of Proposal Content. Notwithstanding the identification of a
       proposed Developer for the purpose of further negotiations, such selection does
       not constitute acceptance of its proposal.

(Id. at 9 (emphasis added).)3 In fact, the public entities were not even required to select a single

developer to negotiate with, but rather “may select one or more developers with which to

continue negotiations toward reaching a mutually agreeable CDA.” (Id.) The RFQP further


Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008) (citing Amini v. Oberlin Coll., 259
F.3d 493, 502 (6th Cir. 2001)). Considering such documents will not convert this motion to
dismiss to one for summary judgment under Fed. R. Civ. P. 56. See In re Omnicare, Inc.
Securities Litig., 769 F.3d 455, 466 (6th Cir. 2014).
3
  In a clumsy effort to avoid this provision, and virtually all of the other provisions cited below
that conflict with their theory of recovery, Plaintiffs simply omit the pages containing these
provisions from the exhibit to their Amended Complaint. (See Amended Complaint, Exhibit 2
(attaching only 3 nonconsecutive pages of the 14 page RFQP).) But problematic facts cannot so
easily be avoided. Defendants have attached the complete RFQP as Exhibit 1 to this Brief, and
the Court may consider it in ruling on this motion as it is expressly referred to in the Amended
Complaint and is absolutely central to the claims contained therein. Bassett, 528 F.3d at 430.


                                                  3
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provided that: “THE PUBLIC ENTITIES ARE NOT LIABLE FOR ANY COSTS INCURRED

BY ANY PROPOSED DEVELOPER PRIOR TO THE SUCCESSFUL COMPLETION OF

NEGOTIATIONS AND EXECUTION OF THE CDA OR PRIOR TO CLOSING ON THE

SALE AND PURCHASE OF THE PROPERTY.” (Id. (emphasis in original).) And in the event

a CDA was executed (though one never was here), the RFQP required that such a CDA “will

contain provisions granting the City the right to disqualify any development team member(s)

found to be unacceptable during development of the project.” (Id.)

       Moreover, in another section of the RFQP titled “RESERVATION OF THE

DISCRETION OF THE PUBLIC ENTITIES,” the RFQP provides:

       Notwithstanding any other provision in this RFQP, the Public Entities reserve the
       right to:

               Reject any and all proposals.

               Waive any errors or irregularities in the solicitation process or in any
               proposal.

               Re-solicit proposals for the project.

               Negotiate with any developer for a reduced price, or for an increased price
               to include any alternates that any Developer may propose.

               Reduce or revise the scope of the project, and re-solicit or negotiate with
               any Developer regarding the revised project.

               Defer or abandon the project.

               (Id. at 12)

The July 9, 2012 Proposal Submitted in Response to the RFQP

       Plaintiffs allege that on July 9, 2012, Chris Jerome submitted a proposal in response to

the RFQP. (Am. Compl. at PageID.263, ¶ 64.) Chris Jerome, however, did not submit the

proposal on his own behalf, nor did he submit it on behalf of Plaintiffs Leo Jerome or Story




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Companies, LLC. Plaintiffs acknowledge this much, alleging that Chris Jerome submitted the

proposal as an “Authorized Agent” (id. at PageID.263, ¶ 65.) But they attempt to ignore the

obvious question that follows: whose Authorized Agent?

        The July 9, 2012, proposal submitted by Chris Jerome directly answers that question,

though Plaintiffs elected not to attach this central document to their Amended Complaint

(presumably because the answer completely undermines their claims).4 The RFQP required any

proposal to “provide the full name and address” of the developer firm, and identify the

“authorized agent” with authority to bind the developer. (Am. Compl., at PageID.260, ¶ 52;

Defendants’ Exhibit 1, RFQP at 7.) The RFQP Response provides this information on page 9,

identifying “Christopher Jerome” as the Authorized Agent for the “Capital Gateway Project

LLC,” and providing that LLC’s registered address. (Defendants’ Exhibit 2, RFQP Response, at

9; see also Defendants’ Exhibit 3, Capital Gateway Project, LLC Public Filings.) Earlier, the

RFQP Response indicated that Chris Jerome was acting “On Behalf of the Story and Ferguson

Families.” (Defendants’ Exhibit 2, RFQP Response, at p.2; 5 (stating that “the Story and

Ferguson families are founding shareholders” of the developer); and 26 (stating that the team is

“lead by the Story and Ferguson families”).) Nowhere does the RFQP Response ever indicate

that Chris Jerome is submitting a proposal on his own behalf, or on behalf of any of the named

Plaintiffs.

        Capital Gateway Project, LLC is a Michigan limited liability company formed on July 9,

2012 – the same day that the RFQP Response was submitted. (Defendants’ Exhibit 3, Capital



4
 Again, however, bad facts cannot so easily be avoided. Defendants attach the RFQP Response
as Exhibit 2 to this Brief, and because it is referenced in and central to the claims asserted in the
Amended Complaint, it is properly considered by the Court when ruling on this motion. Bassett,
528 F.3d at 430.


                                                  5
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Gateway Project, LLC Public Filings.)5 Though Plaintiffs allege that there had been some

discussion regarding equity, control, and other terms related to this LLC prior to submission of

the RFQP Response (Am. Compl. at PageID.264-265, ¶¶ 71, 75-77), none of those matters were

resolved at the time of submission of the RFQP Response. In fact they were never resolved.

Plaintiffs’ Amended Complaint recounts various draft Operating Agreements for the LLC, and

proposals and counterproposals regarding ownership, voting rights, and various other matters,

but acknowledges that ultimately (and after many months of negotiation) no agreement was ever

reached among its would-be members regarding any of these essential terms. (Am. Compl. at

PageID.265-270, 306-312, ¶¶ 78, 82, 83, 88, 91-95 & Exs. 3 & 4.) With no operative Capital

Gateway Project, LLC to work with, the City ultimately moved on without it, as the RFQP

reserved the right to do.

       Additional factual allegations are discussed below to the extent they are relevant to the

claims asserted.

                                 STANDARD FOR DISMISSAL

       This motion is brought pursuant to Fed. R. Civ. P. 12(b)(1) and (6). Rule 12(b)(1)

motions challenge the existence of subject-matter jurisdiction. A motion under this rule attacks

the claim of jurisdiction on its face, taking Plaintiff’s jurisdictional assertions as true. DLX, Inc.

v. Kentucky, 381 F.3d 511, 516 (6th Cir. 2004). Plaintiff has the burden of proving jurisdiction

when challenged. Giesse v. Sec’y of HHS, 522 F.3d 697, 702 (6th Cir. 2008). Standing is a

jurisdictional defense and is properly raised in a 12(b)(1) Motion. Ward v. Alternative Health

Delivery Sys., Inc., 261 F.3d 624, 626 (6th Cir. 2001).



5
  The Court may consider public records in ruling on a Rule 12(b)(6) motion. Bassett, 528 F.3d
at 430.


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        A complaint cannot survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6) unless it

contains “sufficient factual matter, accepted as true, to state a claim to relief that is plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007)) (internal quotations omitted). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). The

plausibility standard requires “more than a sheer possibility that a defendant has acted

unlawfully.” Id. (citing Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint . . . has not

“show[n] that the pleader is entitled to relief” and should therefore be dismissed. Id. at 679

(citing Fed. Rule Civ. Proc. 8(a)(2)).

        Notably, “the tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions.” Id. at 678; see also Twombly, 550 U.S. at 555

(“courts are not bound to accept as true a legal conclusion couched as a factual allegation” (citing

Papasan v. Allain, 478 U.S. 265, 286 (1986)). Indeed, Rule 8(a)(2) “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555). Therefore, a complaint that merely offers “labels and conclusions”;

“a formulaic recitation of the elements of a cause of action”; or “naked assertion[s] devoid of

further factual enhancement” cannot survive a motion to dismiss. Id. (citing Twombly, 550 U.S.

at 555, 557) (internal quotations omitted).

        For a Rule 12(b)(6) motion, “[a] court is not bound to accept . . . unwarranted inferences,

including allegedly inferable ‘facts’ or conclusions which contradict documentary evidence

appended to, or referenced within, the plaintiff’s complaint.” Mulbarger v. Royal All. Assocs.,




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Inc., 10 F. App’x 333, 335 (6th Cir. 2001) (unpublished). This Court has similarly recognized

that “[o]n a Rule 12(b)(6) motion, the Court is not bound to accept as true . . . allegations

‘contradicted by public records and other evidentiary materials of which the Court may take

judicial notice.’” Marshall v. Nationstar Mortg., LLC, No. 1:12-CV-852, 2015 WL 1042197, at

*3 (W.D. Mich. Mar. 10, 2015) (unpublished) (citing McGee v. City of Cincinnati Police Dep’t,

No. 1:06–CV–726, 2007 WL 1169374, at *2 (S.D. Ohio Apr.18, 2007)); Moon v. Harrison

Piping Supply, 465 F.3d 719, 728 (6th Cir. 2006). Instead, such properly considered documents

and public records must prevail over any contradictory allegations. Williams v. CitiMortgage,

Inc., 498 F. App’x 532, 536 (6th Cir. 2012) (unpublished) (upholding dismissal where plaintiffs’

claims were squarely contradicted by her mortgage’s payoff statement); see also Seaton v.

TripAdvisor LLC, 728 F.3d 592 (6th Cir. 2013) (upholding dismissal of complaint alleging

defamation and other business torts based on plaintiff’s inclusion on TripAdvisor’s list of “2011

Dirtiest Hotels” because actual list undermined such claims).

                                           ARGUMENT

       Plaintiffs’ pleadings contain multiple fundamental, incurable defects that warrant

dismissal of this action. First, for all of Plaintiffs’ broad, vague, and conclusory accusations of

political corruption, they have failed to allege that they have suffered any legally recognized

injury, and accordingly lack standing to maintain this action. Second, Counts I and II of the

Amended Complaint purport to assert civil claims under the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. Ch. 96 (“RICO”) arising from the failure of Plaintiffs’ heated

negotiations with Joel Ferguson over their respective control and/or ownership of Capital

Gateway Project, LLC. For all of Plaintiffs’ wild and conclusory accusations that these

negotiations indicate a vast criminal racketeering scheme to defraud Plaintiffs joined by ten

different defendants (including, inter alia, the Mayor of Lansing and a local nonprofit


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corporation), Plaintiffs have failed to sufficiently allege actionable civil RICO claims as a matter

of law. Third, Count III of the Amended Complaint fails to sufficiently state a claim that

Plaintiffs’ due process rights were violated as a matter of law. Fourth, Counts IV and V of the

Amended Complaint fail to state a claim for tortious interference under Michigan law. Finally,

to the extent that any claim survives, Defendants Bernero, LEAP, and Trezise should be

dismissed from this action based on qualified and/or absolute immunity.

I.      Plaintiffs Lack Standing to Pursue this Action

        Plaintiffs must establish standing in order to satisfy the case or controversy requirement

of U.S. Const. art. III, § 2. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 559-60 (1992). To have

Article III standing, Plaintiffs must, among other things, demonstrate that they have suffered an

“injury in fact,” i.e., an invasion of a legally protected interest that is “concrete and

particularized.” Id. at 560. It must also be likely, as opposed to merely speculative, that the

injury will be “redressed by a favorable decision.” Id.; see also Wall v. Michigan Rental, 852

F.3d 492, 495 (6th Cir. 2017)

        To obtain standing as to Counts I and II, Plaintiffs must also satisfy the statutory

prerequisites for bringing a civil RICO action set forth in 18 U.S.C. § 1964(c). Specifically,

Plaintiffs must plead facts sufficient to show that they were “injured in [their] business or

property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c); Jackson v.

Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 563-64 (2013). “[T]he requirement

of injury in one’s ‘business or property’ limits the availability of RICO's civil remedies to those

who have suffered injury in fact.” Holmes v. Sec. Inv'r Prot. Corp., 503 U.S. 258, 279 (1992).

        Under these standards, Plaintiffs have three insurmountable standing problems: (1) the

RFQP and RFQP Response do not grant any rights whatsoever, (2) even if they did, Plaintiffs

were not a party to these documents, and (3) any redress sought by Plaintiffs based on the RFQP


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and RFQP Response would be entirely speculative.

       A.      The RFQP and RFQP Response Do Not Confer Any Legal Rights on Any
               Developer.

       Plaintiffs allege that the RFQP Response was selected by the City of Lansing as the

“RFQP winner” (Am. Compl., PageID.263, ¶ 66), and that this vested Plaintiffs with a valuable

right in the “award of the Project and all expected attendant profits,” and in being the “selected

developer” for the Project. (Id., PageID.286, 295, ¶¶ 163, 207.) These contentions are

contradicted by the unambiguous language of the RFQP and RFQP Response. The RFQP states

that “the selected developer will enter into a planning and negotiation process with the LEDC

and City that should ultimately result in a Comprehensive Development Agreement [“CDA”].”

(RFQP at 1 (emphasis added).) Plaintiffs’ suggestion that being the “selected developer”

conferred any rights is expressly refuted by the RFQP, which states:

       Acceptance of Proposal Content. Notwithstanding the identification of a
       proposed Developer for the purpose of further negotiations, such selection does
       not constitute acceptance of its proposal. (Ex. 1, RFQP at 9 (emphasis added).)

As discussed in the statement of facts above, the RFQP states over and over again that the City’s

selection of a proposal does not confer any legal rights on the developer. The public entities

reserved the right to disqualify any development team members they found to be unacceptable,

(id. at 10) and included extensive provisions reserving their right to, inter alia, “reject any and all

proposals,” “re-solicit proposals for the project,” “revise the scope of the project,” “defer or

abandon the project,” and/or “negotiate with any developer.” (Id. at 12.) The RFQP also

disclaimed any liability to “any proposed developer prior to the successful completion of

negotiations and execution of the CDA or prior to closing on the sale and purchase of the

property.” (Id. at 9.)




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       Accordingly, by its express terms the RFQP does not grant property or contract rights to

anyone. A contract cannot arise under Michigan law “where one party to the proposed

agreement manifests an intent not to be bound until execution of the contract.” Angelo DiPonio

Equip. Co. v. State, Dep’t of State Highways & Transp., 309 N.W.2d 566, 569 (Mich. App.

1981). Here, the RFQP states that it is not a binding contract, and provides that the public

entities will not incur any legal obligations unless and until a CDA is successfully negotiated and

executed, or an agreement is reached and a sale is closed on the property. Plaintiffs do not, and

cannot, allege that either of these events occurred.

       Second, even if the RFQP did not contain these unambiguous disclaimers, the RFQP and

response thereto do not contain any material terms regarding the proposed project. It is well-

established under Michigan law that “[i]f the document or contract that the parties agree to make

is to contain any material term that is not already agreed on, no contract has yet been made; and

the so-called ‘contract to make a contract’ is not a contract at all.” Hansen v. Catsman, 123

N.W.2d 265, 266 (Mich. 1963); see also Socony-Vacuum Oil Co. v. Waldo, 286 N.W. 630, 632

(Mich. 1939) (“To be enforceable, a contract to enter into a future contract must specify all its

material and essential terms and leave none to be agreed upon as the result of future

negotiations.”)

       The RFQP and the RFQP Response do not contain any material terms on which the City

would agree to sell the property or on which the developer would agree to develop the property.

To the contrary, they expressly leave these items open to future negotiations. A cursory review

of the RFQP Response indicates that it is nothing more than a preliminary conceptual proposal.

It doesn’t contain any specific proposals regarding key items, such as the price at which the




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property would be sold, the agreed-upon development plan, the use of the property, or any other

material terms that would need to be negotiated.

       For all of these reasons, Plaintiffs lack standing. By their terms, the RFQP and RFQP

Response do not confer contract or property rights on any developer as a matter of law. Because

the alleged rights that Plaintiffs seek to vindicate in this action cannot exist under these

documents as a matter of law, Plaintiffs cannot establish either Article III standing or an injury to

their “business or property” as required to establish standing under RICO. See Lujan, 504 U.S.

at 560; Holmes, 503 U.S. at 279.

       B.      Plaintiffs Cannot Have Any Legally Protected Rights under the RFQP or
               RFQP Response because Plaintiffs Are Not Parties to These Documents.

       Even if the Court could overlook the express language in the RFQP and RFQP Response,

Plaintiffs cannot avoid the fact that they were not parties to the RFQP Response. Plaintiffs’

allegation that “Plaintiffs were selected as the ‘selected developer’ ... in response to Plaintiffs’

submission and bid for the RFQP” (Am. Compl., PageID.290, ¶ 181), is directly contradicted by

the RFQP Response and by Plaintiffs’ own substantive pleadings.

        The RFQP required any responsive proposal to “provide the full name and address” of

the developer firm, and identify the “authorized agent” with authority to bind the developer. (Ex.

1, RFQP at 7; see also Am. Compl., PageID.263, ¶ 65.) Nowhere does the RFQP Response ever

identify the developer firm as the named Plaintiffs. Instead, it identifies “Capital Gateway

Project, LLC” as the developer firm, providing the LLC’s registered address and identifying

Christopher Jerome as its authorized agent.6 (Ex. 1, RFQP at 9.) Indeed, Plaintiffs affirmatively

allege that the RFQP response identifies Christopher Jerome as the authorized agent. (Am.


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 This is consistent with Capital Gateway Project, LLC’s corporate filings, which identify
Christopher Jerome as its registered agent. (Ex. 3, Public Corporate Filing Information.)


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Compl., PageID.263, ¶ 65.) Accordingly, to the extent there ever was a “selected developer”

under the RFQP Response, it was the non-party Capital Gateway Project, LLC,7 with

Christopher Jerome acting as its authorized agent.

       Plaintiffs cannot establish standing by contradicting the unambiguous language in the

RFQP Response and their own affirmative allegations. Mulbarger, 10 F. App’x at 335.

Plaintiffs also cannot establish standing based on any alleged ownership stake in Capital

Gateway Project, LLC, because such rights are merely derivative and can only be asserted

through the corporation. See Warren v. Manufacturers Nat. Bank of Detroit, 759 F.2d 542, 544

(6th Cir. 1985) (affirming dismissal of RICO claims brought by shareholder alleging injury

sustained by corporation); Frank v. D’Ambrosi, 4 F.3d 1378, 1385 (6th Cir. 1993) (same); see

also Salem Springs, LLC v. Salem Twp., 880 N.W.2d 793, 800-801 (Mich. Ct. App. 2015)

(finding that suit premised on corporation’s standing must be brought in corporation’s name

rather than in the name of the corporation’s owner or manager); Baisden v. I'm Ready Prods.,

Inc., 693 F.3d 491, 509-10 (5th Cir. 2012) (“We agree with the district court that this claim was

properly dismissed for lack of standing. Baisden was not a party to the contract and thus cannot

assert a claim for tortious interference.”)

       Likewise, Christopher Jerome cannot assert standing based on his allegation that he was

the “authorized agent” of the developer, Capital Gateway Project, LLC. (RFQP Resp. at 9; Am.


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  Although Plaintiffs attempt to plead around the fact that Capital Gateway Project, LLC was the
actual “developer” for the Project, even they cannot avoid this fact in their own pleadings. For
example, Plaintiffs allege that the dispute between Ferguson and the Jeromes was over their
respective control of and ownership in Capital Gateway Project, LLC. (See Am. Compl.,
PageID.265, 269, ¶¶ 77-78, 91-92.) Plaintiffs specifically allege that Ferguson presented them
with a draft operating agreement for Capital Gateway Project, LLC that “contained new terms
that essentially gave Ferguson control of the Project.” (Id., PageID.265, ¶ 78.) Control of the
Project could not have hinged on the terms of Capital Gateway Project, LLC’s operating
agreement, of course, unless it was the developer.


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Compl., PageID.263, ¶ 65.) The general rule under Michigan law is that “[u]nless otherwise

agreed, a person making or purporting to make a contract with another as agent for a disclosed

principal does not become a party to the contract.” Andersons, Inc. v. Horton Farms, Inc., 166

F.3d 308, 315 (6th Cir. 1998) (quoting Riddle v. Lacey & Jones, 351 N.W.2d 916, 919 (Mich. Ct.

App. 1984) (quoting 2 Restatement Agency, 2d, § 320)); see also Armstrong v. Andrews, 67

N.W. 567, 568 (Mich. 1896) (“where it clearly appears that the contract is made for and on

behalf of a principal, the agent will not be bound”). Christopher Jerome was not a party to the

RFQP Response, and therefore has no standing to assert any rights thereunder as a matter of law.

       Plaintiffs’ claims are entirely premised on a deprivation of the “rights” they allegedly

obtained through the RFQP Response, but they are not even parties to that document.

Accordingly, even if the RFQP and RFQP Response created an enforceable interest (and they did

not), Plaintiffs could not establish Article III standing or an injury to their “business or property”

as required to establish standing under RICO. See Lujan, 504 U.S. at 560; Holmes, 503 U.S. at

279.

       C.      Plaintiffs Lack Standing because Their Alleged Injury Cannot Be Redressed
               by a Favorable Decision.

       Plaintiffs also lack standing for the reason that it is entirely speculative that their alleged

injury could be “redressed by a favorable decision.” Lujan, 504 U.S. at 560. Even if this Court

could recognize Plaintiffs as parties to the RFQP Response who obtained legal rights thereunder,

Plaintiffs’ theory is that they were deprived of their right to “enter into a planning and

negotiation process with the LEDC and City that should ultimately result in a Comprehensive

Development Agreement.” (Am. Compl. ¶ 51, PageID.260 (quoting RFQP at 1).)

       This Court cannot possibly find any coherent and non-speculative basis for awarding

Plaintiffs damages to compensate them for the loss of their right to “enter into a planning and



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negotiation process.” This would require layer upon layer of unbridled speculation. The

factfinder would first have to determine what the “planning process” was, and what type of

project would have resulted from that process. Then, it would need to speculate as to what terms

and conditions would have emerged from the “negotiation process” with the LEDC and the City.

Finally, it would need to speculate as to the success of the hypothetical project – including, inter

alia, whether Plaintiffs would have satisfactorily performed, what expenses they would have

incurred, and what profits they would have realized. The problem with Plaintiffs’ theory is that

the RFQP Response merely reflects a broad vision for a project that had not gone through any

planning processes whatsoever, and did not even contain any proposed deal terms.8 Ascertaining

any damages under the RFQP Response would require layer upon layer of speculation. Because

any damages to compensate Plaintiffs for their alleged loss of the ability to “enter a planning and

negotiation process” would be entirely speculative, Plaintiffs cannot establish standing. Lujan,

504 U.S. at 560.

II.    Plaintiffs Fail to State a RICO Claim as a Matter of Law

       Plaintiffs’ RICO claims are asserted under Count I against three defendants: Ferguson,

Stralkowski, and Ferguson Development (together, the “RICO Defendants”), and in Count II

against ten defendants: Ferguson, Stralkowski, Ferguson Development, Mayor Virgil Bernero,

LEAP, Robert Trezise, Chuck Clark, Clark Construction, Red Cedar Investor, LLC, and

Ferguson/Continental Lansing, LLC (together the “Conspiracy Defendants”). Plaintiffs’

Amended Complaint is entirely deficient. Plaintiffs fail to sufficiently allege any primary

violation of 18 U.S.C. § 1962(c) by the RICO Defendants, and their Conspiracy claim under 18


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  This uncertainty is compounded further by the multiple disclaimers and reservations of rights in
the RFQP. (Ex. 1, RFQP at 9-10, 12.) Plaintiffs cannot claim a “right” to negotiate, or that such
a “right” has any value whatsoever, when the other negotiating party is free to negotiate with
other developers, propose any terms that they want, or walk away at any time, for any reason.


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U.S.C. § 1962(d) therefore also necessarily fails. And even if Plaintiffs could maintain their §

1962(c) claim – which they cannot – their conspiracy claim would still fail for the independent

reason that Plaintiffs have failed to sufficiently allege that the ten Conspiracy Defendants agreed

to and engaged in a criminal racketeering conspiracy.

       A.      Plaintiffs Fail to Sufficiently Allege that the RICO Defendants Violated 18
               U.S.C. § 1962(c).

       Count I of the Amended Complaint alleges that the RICO Defendants violated 18 U.S.C.

§ 1962(c), which provides:

       It shall be unlawful for any person employed by or associated with any enterprise
       engaged in, or the activities of which affect, interstate or foreign commerce, to
       conduct or participate, directly or indirectly, in the conduct of such enterprise’s
       affairs through a pattern of racketeering activity.

18 U.S.C. § 1962(c). To state a claim for a violation of this section with respect to each RICO

Defendant, Plaintiffs “must plead the following elements: (1) conduct; (2) of an enterprise; (3)

through a pattern; (4) of racketeering activity.” In re ClassicStar Mare Lease Litig., 727 F.3d

473, 483 (6th Cir. 2013). Failure to allege even one of these required elements is fatal to

Plaintiffs’ RICO claims. See Heinrich v. Waiting Angels Adoption Services, Inc., 668 F.3d 393,

404 (6th Cir. 2012) (“A plaintiff must allege each element to properly state a claim.”). Plaintiffs

have failed to state a claim that any of the RICO Defendants violated 18 U.S.C. § 1962(c).

               1.      Plaintiffs Cannot Maintain that Ferguson Development, LLC is both a
                       “Person” and an “Enterprise.”

       To establish RICO liability, a plaintiff must plead that a “person” conducted the affairs of

an “enterprise” through a pattern of racketeering activity. See 18 U.S.C. § 1962(c); In re

ClassicStar, 727 F.3d 473 at 490. “The enterprise itself is not liable for RICO violations; rather,

the ‘persons’ who conduct the affairs of the enterprise through a pattern of racketeering activity

are liable.” In re ClassicStar, 727 F.3d at 490. Though entities may be RICO persons, see 18



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U.S.C. § 1961(3), the plaintiff must plead that the RICO person and enterprise are distinct

entities. In re ClassicStar, 727 F.3d at 490 (citing Cedric Kushner Promotions, Ltd. v. King, 533

U.S. 158, 161 (2001)). In other words,

               Under the “non-identity” or “distinctness” requirement, a
               corporation may not be liable under section 1962(c) for
               participating in the affairs of an enterprise that consists only of its
               own subdivisions, agents, or members. An organization cannot
               join with its own members to undertake regular corporate activity
               and thereby become an enterprise distinct from itself.

Begala v. PNC Bank, Ohio Nat. Ass’n, 214 F.3d 776, 781 (6th Cir. 2000) (emphasis added).

       Here, Plaintiffs allege that Ferguson, Stralkowski, and Ferguson Development are the

only three members of the “Ferguson Enterprise.” (See Am. Compl., PageID.254, ¶ 24.) But

Plaintiffs admit in their Amended Complaint that Ferguson and Stralkowski are members and

agents of Ferguson Development. (Id., PageID.254-255, 284-285, ¶¶ 25, 26, 155-157.)

Although Plaintiffs superficially attempt to separate Ferguson from Ferguson Development, in

substance they allege that Ferguson Development is the enterprise through which its members,

Ferguson and Stralkowski, committed their alleged racketeering activities. Ferguson

Development is not alleged to be a distinct person participating in the enterprise; indeed,

Plaintiffs describe Ferguson Development as “Ferguson’s instrument of corruption and improper

political influence for personal financial gain for over two decades.” (Id. PageID.255, ¶ 25.)

Most importantly, Plaintiffs specifically allege that Ferguson and Stralkowski committed all of

the alleged RICO predicate acts “operating the enterprise through Ferguson Development.” (Id.,

PageID.272-274, ¶ 102.)

       Because Plaintiffs’ only allegations against Ferguson Development involve it acting

through its own members, under In re ClassicStar, 727 F.3d 473, the Amended Complaint fails

on its face to state a RICO claim against Ferguson Development, LLC. See also Begala, 214



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F.3d 776; Puckett v. Tenn. Eastman Co., 889 F.2d 1481, 1489 (6th Cir. 1989) (finding plaintiffs

could not plead a corporation was liable as both a person and an enterprise acting in association

with its employees, since the complaint “contemplated only one entity, the corporation, acting in

the only manner it is possible for a corporation to act, through its employees”) (emphasis in

original).

                2.      Plaintiffs Fail to Allege a “Pattern” of “Racketeering Activity.”

        The heart of any civil RICO claim brought under 18 U.S.C. § 1962(c) is sufficient, well-

pled factual allegations showing a “pattern of racketeering activity.” This is because RICO was

not enacted to redress individual or isolated crimes; rather, “Congress was concerned in RICO

with long-term criminal conduct.” H.J., Inc. v. Nw. Bell Tele. Co., 492 U.S. 229, 242 (1989).

Indeed, it is the “pattern” of ongoing criminal conduct – and not the individual alleged predicate

crimes – that RICO is intended to address. For this reason, the Sixth Circuit has, time and time

again, affirmed dismissal of civil RICO claims where the plaintiff failed to sufficiently allege a

“pattern of racketeering” in violation of the statute. See, e.g., Grubbs v. Sheakley Grp., Inc., 807

F.3d 785 (6th Cir. 2015); Moon v. Harrison Piping Supply, 465 F.3d 719 (6th Cir. 2006); Vemco,

Inc. v. Camardella, 23 F.3d 129, (6th Cir. 1994).

        For purposes of the statute, a “pattern of racketeering” consists of at least two predicate

acts—i.e., certain offenses enumerated in 18 U.S.C. § 1961(1)—that occur within a ten-year

period. See Moon, 465 F.3d at 723. The predicate acts must be related and amount to or pose a

threat of continued criminal activity. See H.J., 492 U.S. 237. This requirement is based on

RICO’s statutory text, as “the term pattern itself requires the showing of a relationship between

the predicates and of the threat of continuing activity. It is this factor of continuity plus

relationship which combines to produce a pattern.” Moon, 465 F.3d at 724 (internal citations

omitted, emphasis original). Courts consider a number of factors in assessing relatedness and


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continuity, including (1) the number and variety of predicate acts, (2) the length of time over

which they are committed, (3) the number of victims, (4) the presence of separate schemes, and

(5) the occurrence of distinct injuries. Grubbs, 807 F.3d at 804.

        Thus, it is critical to sufficiently plead and prove continuity in order to show a “pattern”

of racketeering under 18 U.S.C § 1962(c). “‘Continuity’ is both a closed- and open-ended

concept, referring either to a closed period of repeated conduct, or to past conduct that by its

nature projects into the future with a threat of repetition.” H.J., Inc., 492 U.S. at 241.

“Continuity may be established at the pleading stage by alleging facts of either closed- or open-

ended racketeering activity.” Moon, 465 F.3d at 724. Plaintiffs have failed to allege facts

sufficient to state a claim under either theory.

                       a.      Plaintiffs Have Failed to Plead Closed-Ended Continuity.

        Plaintiffs’ Amended Complaint falls woefully short in pleading any of the requisite

factors necessary to establish closed-ended continuity.

        To establish a closed period of continuity, a plaintiff must plead “a series of related

predicates extending over a substantial period of time.” H.J., Inc., 492 U.S. at 242. Though

there is no hard and fast rule as to what constitutes a “substantial period of time,” racketeering

activities lasting “a few weeks or months and threatening no future criminal conduct do not

satisfy this requirement.” Id.; see also Vemco, 23 F.3d at 134 (predicate acts over 17 months

insufficient); Vild v. Visconsi, 956 F.2d 560, 569 (6th Cir. 1992) (predicate acts over 6-7 months

insufficient).

        Although Plaintiffs only allude vaguely to the predicate acts which allegedly constitute

the pattern of racketeering activity purportedly committed by the RICO Defendants, at most

Plaintiffs allege predicate acts lasting for no more than seven months. Plaintiffs list the alleged

“predicate acts” on which they base Count I in Exhibit 7 of the First Amended Complaint. (Am.


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Compl., PageID.322-329, Ex. 7 at 2-9.) There, Plaintiffs list sixteen statements and/or events that

they characterize as predicate acts, all of which allegedly occurred between June 18, 2012 and

January 15, 2013. (Id.) Accordingly, at most Plaintiffs allege predicate acts over the course of

seven months.

       Such a brief cluster of alleged predicate acts is insufficient to establish closed-ended

continuity as a matter of law. Courts consistently dismiss claims based on alleged RICO

enterprises lasting less than two years. See Am. Eagle Credit Corp. v. Gaskins, 920 F.2d 352, 354

(6th Cir. 1990) (predicate acts occurring over 18 months insufficient); Vemco, 23 F.3d at 134

(predicate acts occurring over 17 months insufficient); Vild, 956 F.2d at 569 (predicate acts

occurring over 6-7 months insufficient); Griffin v. NBD Bank, 43 F. Supp. 2d 780, 788 (W.D.

Mich. 1999) (predicate acts occurring over 11 months insufficient).

       In line with RICO’s concern with “long-term criminal conduct,” H.J., 492 U.S. at 242,

Courts also typically require that a “pattern of racketeering” involve multiple different victims.

See Vemco, 23 F.3d at 135 (finding no pattern of criminal conduct when the complaint alleged

only one victim); Grubbs, 807 F.3d at 805 (holding same). In Vemco – a case remarkably similar

to this one – the Sixth Circuit held: “[w]e do not find that a defendant who engages in several

different forms of fraud for a single purpose, to defraud a single victim through activities

surrounding one construction project, without more, has engaged in more than one criminal

scheme.” Vemco, 23 F.3d at 135 (emphasis added). The Sixth Circuit reached a similar

conclusion in Moon, finding that all of the predicate acts were directed to a single victim over the

course of two and a half years, and the claims thus failed to “bear the markings of the ‘long-term

criminal conduct’ about which ‘Congress was concerned’ when it enacted RICO. 465 F.3d at

725-26; see also Grubbs, 807 F.3d at 805 (finding no pattern of racketeering where the




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complaint alleged only one victim).

        Likewise, here, Plaintiffs are the only alleged victims, they allege only one racketeering

scheme (a plan to “steal” the alleged proposal to develop the Project), and allege only one

injury—their inability to participate in the Project. (See Am. Compl., PageID.284-286, ¶¶ 153-

159.)9 Plaintiffs’ allegations are manifestly insufficient to demonstrate the type of “pattern of

racketeering” prohibited by RICO as a matter of law.

                        b.      Plaintiffs Have Failed to Plead Open-Ended Continuity.

        Parties can plead open-ended continuity by presenting facts that show “a distinct threat of

long-term racketeering activity,” or by showing “that the predicate acts or offenses are part of an

ongoing entity’s regular way of doing business.” H.J., Inc., 492 U.S. at 242. Open-ended

continuity is not pled when the complaint alleges an “inherently terminable scheme.”

Heinrich,\668 F.3d at 410-11 (citing Vemco, 23 F.3d at 134). The same factors discussed in the

preceding section regarding closed-ended continuity are relevant here, and consideration of each

again supports dismissal for failure to plead continuity.

        Plaintiffs pled a single scheme, with a single victim, and a single injury; such allegations

obviously fail to establish open-ended continuity. See Grubbs, 807 F.3d at 805 (finding


9
  Plaintiffs make conclusory allegations that “racketeering activities” continued when Ferguson
allegedly interfered with Plaintiffs’ alleged attempts to enter into a different partnership with the
unidentified “Developer A,” but fail to allege any predicate acts whatsoever relating to these
events. (See Am. Compl., PageID.322-329, Ex. 7 at 2-9.) As discussed in greater detail in
Sections II.A.5 and IV.B below, the allegations in the Complaint regarding the alleged “second
scheme” are utterly deficient - Plaintiffs allegations here fail to satisfy Fed. R. Civ. P. 8, let alone
make any attempt to describe with particularity any predicate crimes that allegedly occurred
during this “scheme.” Plaintiffs have not identified Developer A, have not alleged that
Developer A paid any money to Ferguson Enterprise or its members, and – most importantly –
because Plaintiffs fail to describe any allege RICO predicate acts relating to the alleged “second
scheme,” it cannot be any basis for demonstrating any RICO violation or “pattern of
racketeering” as a matter of law. See H.J., 492 U.S. at 241-42 (stating that RICO requires proof
of multiple related and continuous predicate acts.)


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complaint was insufficient to establish open-ended continuity where plaintiffs alleged no facts

indicating threat of future criminal conduct and only a single victim of a single scheme). The

predominant scheme alleged by Plaintiffs involves Ferguson’s alleged attempt to take control of

the bid for the Project in order to develop it himself: a single scheme with a finite purpose that

ended once achieved. And Plaintiffs admit that this alleged scheme is complete and, therefore,

“inherently terminable.” (See Am. Compl.. PageID.278, ¶ 118 (stating that, in December 2013,

Lansing awarded the Red Cedar Renaissance Project to Ferguson/Continental Lansing, LLC).)

Because the Amended Complaint contains no other allegations concerning the RICO Defendants

allegedly engaging in mail or wire fraud or extortion upon the awarding of the Project, the

alleged “scheme” is clearly not open-ended.

       Plaintiffs nonetheless attempt to plead open-ended continuity by including allegations

related to Ferguson’s other business dealings, completely unrelated to the Plaintiffs or the

business deal at issue in the Amended Complaint. Specifically, Plaintiffs allege the following:

Ferguson interfered with Plaintiffs’ business relationship with Developer A (Am. Compl.,

PageID.279-281, ¶¶ 121-133), and Ferguson is currently seeking economic incentives in

connection with the Project, which the RFQP indicated might be available. (Id., PageID.281, ¶

136.) These allegations do not establish continuity or otherwise support Plaintiffs’ Amended

Complaint and are entirely irrelevant to the RICO claims (indeed Plaintiffs do not even include

any allegations with respect to Developer A and Ferguson in Exhibit 7, which outlines the

supposed predicate acts).

       First, the allegations regarding Ferguson and Developer A are entirely conclusory and

abbreviated: Plaintiffs allege that Ferguson and Developer A met twice over the course of three

weeks roughly one and a half years ago (and years after the RFQP and RFQP Response at issue




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in the Amended Complaint) and that, at the meetings, Ferguson attempted to get information

from Developer A and to extort Developer A. (See id., PageID.279-280 ¶¶ 125-129.) Plaintiffs

do not allege that Ferguson received any money or property from Developer A or Plaintiffs as a

result of these conversations. Nor do Plaintiffs allege that Developer A and Ferguson had any

further contact, or that Ferguson continues to contact other potential developers with whom

Plaintiffs seek to work. In short, these allegations fail to allege any harm, much less future harm,

as is required to establish open-ended continuity. See Moon, 465 F.3d at 727-28 (court found

allegations that the defendant had used a doctor to fraudulently deny the plaintiff’s worker

compensation benefits and that the defendant had used the doctor for the same purpose in the

past were insufficient to show continuing threat of racketeering activity).

       Second, Plaintiffs fail to present any allegations whatsoever to show any wrongdoing –

let alone criminal conduct – relating to Ferguson seeking economic incentives in conjunction

with the Project. Seeking economic incentives for a real estate development is hardly illegal –

indeed it is contemplated by the RFQP – nor does it constitute a predicate act. Plaintiffs have

failed to allege open-ended continuity, and have failed to plead a pattern of racketeering activity.

               3.      Plaintiffs Have Not Sufficiently Pleaded Mail or Wire Fraud.

       A “pattern of racketeering activity” consists of at least two predicate acts—i.e., certain

offenses enumerated in 18 U.S.C. § 1961(1)—that occur within a ten-year period. See Moon,

465 F.3d at 723. The inquiry is defendant specific: “in order to sufficiently allege that a

defendant violated § 1962(c), a plaintiff must allege that that particular defendant committed a

pattern of predicate acts.” See Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580, 605 (E.D. Mich.

2015) (emphasis in original).

       Plaintiffs primarily assert predicate acts of mail or wire fraud, but have failed to plead

any such acts with the required specificity. “When pleading predicate acts of mail or wire fraud,


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in order to satisfy the heightened pleading requirements of Rule 9(b), a plaintiff must ‘(1) specify

the statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3) state where

and when the statements were made, and (4) explain why the statements were fraudulent.’”

Heinrich, 668 F.3d at 404 (quoting Frank v. Dana Corp., 547 F.3d 564, 570 (6th Cir.2008)); see

also Gotham Print, Inc. v. Am. Speedy Printing Ctrs., Inc., 863 F. Supp. 447, 458 (E.D. Mich.

1994) (finding that civil RICO plaintiff is required to “assert factual allegations stating with

particularity the time, place, subject matter, and precise individuals who, through use of the mails

or telephone, made the purportedly fraudulent statements”).

       Plaintiffs do not even try to meet this heightened standard in any meaningful way, instead

relying on generalizations and vague accusations. Indeed, Plaintiffs fail to identify any specific

statements made by the RICO Defendants that were fraudulent, nor do Plaintiffs provide the

dates of such statements. See Bender v. Southland Corp., 749 F.2d 1205, 1215 (6th Cir. 1984)

(“To satisfy FRCP 9(b), a plaintiff must at minimum allege the time, place and contents of the

misrepresentation(s) upon which he relied.” (Emphasis added)).

       Despite the length of the Amended Complaint, Plaintiffs speak primarily in generalities,

alleging, for example, that “Ferguson feigned cooperation with Jerome on the Project, yet over

the next year, Ferguson and Kass hammered out details of their own operating agreement for the

Ferguson/Continental Lansing, LLC, which was finally executed on June 28, 2013.” (See Am.

Compl., PageID.284, ¶ 150.) Such broad generalizations are insufficient to satisfy Rule 9(b).

See George v. LochenHeath Props., No. 1:07-cv-426, 2008 WL 437797, at *5 (W.D. Mich. Sept.

23, 2008) (finding that defendant’s nondisclosure of property taxes and representations that it

would resell the lots purchased were “general allegations” and thus insufficient to state a claim

for mail or wire fraud); see also Paycom Billings Servs., Inc. v. Payment Res. Int’l, 212 F. Supp.




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2d 732, 739 (W.D. Mich. 2002) (“Despite the comprehensive nature of Plaintiff’s Complaint—

64 pages and 217 numbered paragraphs—it is not insignificant that Plaintiff has failed to identify

a single person at AmTrade who allegedly communicated anything to Paycom, what specifically

was communicated, when and where it was communicated, or how it was misleading.”).

       Further, Plaintiffs fail to specify how any statements made by the RICO Defendants to

Plaintiffs were allegedly fraudulent. Plaintiffs generally allege that Ferguson was also

negotiating with Kass in connection with the Project, but the Amended Complaint does not

explain how this claimed conduct was in any way fraudulent. Indeed, Plaintiffs concede that

they knew about these negotiations, because Ferguson and Kass had offered to include the

Jeromes in their joint venture. (Am. Compl., PageID.276-277, ¶ 114.) Therefore, based on the

Plaintiffs’ own allegations, there clearly was no material omission. Regardless, it is well

established that deceptive statements, none of which have been alleged here, regarding a party’s

negotiating positions cannot constitute fraud as a matter of law. See United States v. Weimert,

819 F.3d 351, 370 (7th Cir. 2016) (“Deception and misdirection about a party’s values, priorities,

preferences, and reserve prices are common in negotiation. We must be wary of criminalizing

these tactics, at least without much clearer direction from Congress.”).

       In addition, Plaintiffs have not identified any mailings, emails, or telephone calls between

Plaintiffs and the RICO Defendants in which the RICO Defendants made any fraudulent

misrepresentations. “‘[L]oose references to mails and telephone calls in furtherance of a

purported scheme to defraud will not do. Instead, the plaintiff must, within reason, describe the

time, place and content of the mail and wire communications, and . . . identify the parties to the

communications.’” K.B.A. Const., LLC v. Home Acres Bldg. Supply Co., No. 1:05-cv-264, 2005

WL 2243098, at *2 (W.D. Mich. Sept. 14, 2005) (quoting Jepsen, Inc. v. Makita Corp., 34 F.3d




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1321, 1328 (7th Cir. 1994)). In this case, the majority of the alleged communications between

the Plaintiffs and the RICO Defendants occurred in face to face meetings. (See Am. Compl.,

PageID.267-269, 274-275, 276, 279-280, ¶¶ 84, 87-88, 90-91, 104-106, 113, 125.) Such face to

face, oral communications cannot form the basis of a claim for mail or wire fraud. See Gotham

Print, 863 F. Supp. at 458 (dismissing RICO claim where “the specific allegations upon which

Plaintiff purports to base his wire fraud and mail fraud claims involve allegations of fraud in face

to face meetings, not in telephone conversations or letters or documents received in the mail”)

(emphasis in original). Though Plaintiffs do allege that they exchanged emails, letters, and

phone calls with the RICO Defendants, Plaintiffs fail to allege what—if any—statements in those

communications were fraudulent. (See Am. Compl., PageID.322-329, Ex. 7, 2-9.)

        A common theme throughout the Amended Complaint plays out as follows: Plaintiffs

describe Ferguson’s negotiating positions, and then characterize them as “fraudulent.” Plaintiffs

do not identify any specific statement that was allegedly fraudulent, and more importantly do not

explain how any such statement was fraudulent. See Weimert, 819 F.3d at 370 (clarifying that

deception involving a party’s negotiation position is not criminal fraud). Plaintiffs have failed to

plead their mail and/or wire fraud claims with the necessary specificity, and their RICO claims

necessarily fail.

                4.     Plaintiffs Have Failed to Plead All Elements of Extortion.

        In order to state a claim for extortion, “plaintiffs must allege facts and circumstances that

show (1) that the defendants obtained the plaintiffs’ property (2) through the wrongful use of (3)

threats or fear of physical or economic harm.” Heinrich, 668 F.3d at 407 (6th Cir. 2012)

(emphasis added). If the defendants did not obtain the plaintiffs’ property, then the claim must

be dismissed. Id. Here, Plaintiffs assert extortion on the grounds that the RICO Defendants

deprived the Plaintiffs of the opportunity to develop the Project. But as thoroughly discussed in


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Section I, supra, Plaintiffs had no property rights under the RFQP and Response. Furthermore,

Plaintiffs never owned the red cedar golf course property, so Defendants’ acquisition of that

property could not possibly constitute the taking of Plaintiffs’ property. See Cedroni Ass’n, Inc.

v. Tomblinson Harburn Assocs., Architects & Planners Inc., 821 N.W.2d 1, 3 (Mich. 2012)

(finding no property right or valid business expectancy to a government bid, even if the plaintiff

is the lowest bidder). Plaintiffs have therefore clearly failed to plead extortion as a predicate act.

               5.      Plaintiffs Have Not Adequately Pleaded a RICO Violation Regarding the
                       Sale of Land to Developer A

                       a.      Plaintiffs Fail to Plead Mail or Wire Fraud as Predicate Acts

       A plaintiff asserting mail or wire fraud as a RICO predicate act must plead those crimes

with the specificity required by Fed. R. Civ. P. 9(b). See supra Section II.A.3.a. Plaintiffs have

failed to plead any fraudulent statements relating to “Developer A,” let alone plead them with

particularity. In just three paragraphs of the Plaintiffs’ lengthy Amended Complaint, Plaintiffs

make allegations regarding meetings between Developer A and Ferguson. Plaintiffs concede

that these meetings had nothing whatsoever to do with the Project as they occurred, if at all,

years later, and such alleged meetings are not included in the claimed predicate acts that

supposedly form the basis of the RICO claim.

       First, Plaintiffs allege that Developer A and Ferguson met on May 14, 2015, and that, at

that time, Ferguson supposedly requested information regarding Plaintiffs’ proposed new project

with Developer A, informed Developer A that he had convinced MSU to assist in financing the

Project, and told Developer A that MSU and Ferguson had entered into a joint venture. (See Am.

Compl., PageID.279-280, ¶¶ 125-127.) Plaintiffs do not allege that these statements were false

or that these statements occurred through the mail or wires. Second, Plaintiffs allege that the

RICO Defendants called Developer A asking for details of the project between Plaintiffs and



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Developer A. (Id., PageID.280, ¶ 129.) Again, Plaintiffs do not allege that this is a false

statement (in fact, it is not even a “statement,” let alone a false one). Third, Plaintiffs allege

Ferguson met with Developer A around June 5, 2015, and that, at the meeting, Ferguson

demanded $147,000 or the proposed new project would be dead, and asked Developer A to assist

with convincing Plaintiffs to drop a lawsuit against Ferguson. (Id., PageID.281, ¶ 132.) Once

again, Plaintiffs do not allege how these statements were fraudulent, much less with specificity,

and Plaintiffs have not pleaded predicate acts of mail or wire fraud related to the dealings with

Developer A.

                       b.      Plaintiffs Fail to State a Claim for Extortion

       As discussed, to state a claim for extortion, “plaintiffs must allege facts and

circumstances that show (1) that the defendants obtained the plaintiffs’ property (2) through the

wrongful use of (3) threats or fear of physical or economic harm.” Heinrich, 668 F.3d at 407

(emphasis added). Plaintiffs allege that, due to the RICO Defendants’ extortion, Developer A

“withdrew from the proposed joint project with the Jeromes.” (Am. Compl., PageID.281, ¶ 133.)

Nowhere do Plaintiffs even attempt to articulate how exactly the RICO Defendants “extorted”

anyone at all. But setting that aside, in any event Plaintiffs fail to make any allegation that the

RICO Defendants obtained any property belonging to Plaintiffs (or anyone else, for that matter)

through extortion. Accordingly, this claim must fail.10

       B.      Plaintiffs Fail to State a Conspiracy Claim under 18 U.S.C. 1962(d).

       Count II of the Amended Complaint alleges that the ten Conspiracy Defendants violated

18 U.S.C. § 1962(d), which provides: “[i]t shall be unlawful for any person to conspire to violate

10
  Although Plaintiffs vaguely allege bribery (see Am. Compl., PageID.285, ¶ 159), the
Amended Complaint does not contain any substantive allegations describing any act of bribery,
and Plaintiffs do not identify any act of bribery as a predicate act. (See Am. Compl.,
PageID.322-329, Ex. 7 at 2-9.)


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any of the provisions of subsection (a), (b), or (c) of this section.” 18 U.S.C. § 1962(d). The key

elements of a RICO conspiracy claim are (1) a primary RICO violation (in this case, a violation

of § 1962(c)), and (2) an illicit agreement by the conspirators to commit that primary violation.

See Craighead v. E.F. Hutton & Co., 899 F.2d 485, 495 (6th Cir. 1990) (concluding that

conspiracy claim is not actionable in absence of primary violation); United States v. Sinito, 723

F.2d 1250, 1260 (6th Cir. 1983) (finding that RICO conspiracy requires proof of “an illicit

agreement to violate the substantive RICO provision”); Hecht v. Commerce Clearing House,

Inc., 897 F.2d 21, 25 (2d Cir. 1990) (“[b]ecause the core of a RICO civil conspiracy is an

agreement to commit predicate acts, a RICO civil conspiracy complaint, at the very least, must

allege specifically such an agreement”); Rose v. Bartle, 871 F.2d 331, 366 (3d Cir.1989) (must

plead agreement to commit predicate acts and knowledge that those acts were part of a pattern of

racketeering activity in violation of section 1962(a)–(c)). Plaintiffs acknowledge that they must

sufficiently allege these elements. (See Am. Compl., PageID.329, Ex. 7 at 9.)

       Plaintiffs have failed to adequately allege either element here, and their conspiracy claim

therefore fails as a matter for law. First, as thoroughly detailed in the Section II.A, supra,

Plaintiffs have failed to sufficiently allege a primary violation of 18 U.S.C. § 1962(c).

Accordingly, Plaintiff’s Count II for RICO Conspiracy necessarily also fails as a matter of law.

Craighead, 899 F.2d at 495.

       Second, Plaintiffs fail to sufficiently allege that any of the Conspiracy Defendants entered

into “an illicit agreement to violate the substantive RICO provisions.” Sinito, 723 F.2d at 1260.

An agreement can be shown where “the defendant ... objectively manifested an agreement to

participate directly or indirectly in the affairs of an enterprise through the commission of two or

more predicate crimes.” Id. at 1261. Although the Amended Complaint alleges in a conclusory




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fashion that the Conspiracy Defendants “intentionally agreed and conspired to violate 18 U.S.C.

§ 1962(c),” this is not enough. A plaintiff cannot satisfy the illicit agreement requirement by

relying on conclusory allegations. See Betulius v. Hanna, No. 4:96-CV-92, 1996 WL 900413, at

*6 (W.D. Mich. Dec. 10, 1996) (dismissing RICO conspiracy claim because “[p]laintiffs’

allegations do not contain sufficient facts evincing each defendant's agreement to participate in a

collective venture toward a common goal.”) The conspiracy allegations against the ten

Conspiracy Defendants are almost entirely conclusory. (See, e.g., Am. Compl., PageID.288, ¶

169 (“[t]he [Conspiracy Defendants] agreed to Ferguson and/or Stralkowski making fraudulent

representations to the Plaintiffs regarding Ferguson’s intentions and Plaintiffs’ status as the

‘selected Developer’ on the Project”), ¶ 170 (“[a]dditionally and alternatively, the [Conspiracy

Defendants] also intentionally agreed and conspired to engage in bribery and extortion ...”).)

       This Court recognized the vague, conclusory, and generally incoherent nature of

Plaintiffs’ conspiracy claims against the ten Conspiracy Defendants in reviewing Plaintiffs’ first

deficient complaint, and required Plaintiffs to chart out specifically what they claim each of the

Conspiracy Defendants allegedly did to violate RICO. Plaintiffs attached this chart as Exhibit 7

of their Amended Complaint,11 but it only serves to demonstrate how woefully inadequate the

RICO Conspiracy claims are with respect to each of the Conspiracy Defendants. The following

section analyzes Plaintiffs’ conspiracy claims by groups of Conspiracy Defendants, and

demonstrates Plaintiffs’ failure to state any conspiracy claims whatsoever.

Ferguson, Stralkowski, Ferguson           Development,      Red    Cedar      Investor   LLC,     and
Ferguson/Continental Lansing LLC



11
  Plaintiffs initially failed to include Trezise in their Exhibit 7 with respect to Count II.
Plaintiffs submitted a supplemental Count II chart for Trezise after his counsel pointed out this
omission. (See Dkt. No. 73-1, PageID.384-386.)


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        According to Plaintiffs, Ferguson, Stralkowski, and Ferguson Development are the only

three defendants who allegedly committed primary RICO violations under § 1962(c). One

would think that Plaintiffs would explain in detail how, when, why, and for what purpose these

three defendants brought the other seven Conspiracy Defendants into their alleged scheme. One

would think that Plaintiffs would explain the basic terms on which they agreed to commit

criminal racketeering with the other seven Conspiracy Defendants, and why those defendants

allegedly agreed to commit criminal racketeering for the apparent purpose of benefiting

Ferguson. But Plaintiffs don’t do any of this – they simply rely on conclusory allegations. For

example, for Joel Ferguson, Plaintiffs allege in an entirely conclusory fashion that he “agreed

with [other Conspiracy Defendants] to facilitate the operation of the Enterprise through a pattern

of racketeering . . . .” (Am. Compl., PageID.330, Ex. 7 at 10.) Plaintiffs recite the same

conclusory allegations for Stralkowski. (Id.) With regard to Ferguson Development, Plaintiffs

allege that Ferguson has ownership and/or control of this entity, and then pair those allegations

with conclusory assertions that “Ferguson Development is and has been Ferguson’s instrument

of corruption and improper political influence for personal financial gain for over two decades.”

(Id.)

        If one hoped to find clarity as to how exactly the RICO Defendants conspired with the

other Conspiracy Defendants to commit the alleged § 1962(c) violations, they will not find it

anywhere in the Amended Complaint or in Exhibit 7.12 Plaintiffs’ Conspiracy allegations are

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   Plaintiffs have also named Red Cedar Investor, LLC and Ferguson/Continental Lansing LLC
as Conspiracy Defendants, alleging that they are entities that Ferguson allegedly has an
ownership stake in. Why and how the Amended Complaint accuses these Defendants of
violating RICO is a mystery. Plaintiffs merely allege that Red Cedar Investor LLC was “formed
to represent Ferguson’s interests in the stolen Project, and is a member of Ferguson/Continental
LLC,” (Am. Compl., PageID.335, Ex. 7 at 15), and allege that “Ferguson/Continental LLC
identified in an operating agreement as the joint venture owner of 100% of the Project, presented
on September 13, 2013 to the Jeromes at Mayor Bernero’s office.” (Am. Compl., PageID.277,


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entirely conclusory, and fail to allege the existence of an illicit agreement as a matter of law. See

Sinito, 723 F.2d at 1260-61; Hecht, 897 F.2d at 25.

       The Amended Complaint also pleads itself out of a RICO conspiracy claim against

Ferguson/Continental Lansing LLC (“FCL”). The Amended Complaint acknowledges that FCL

came into existence on June 28, 2013. (Am. Compl., PageID.277, ¶ 114(b)). Yet it alleges that

the final predicate act of racketeering activity occurred on January 15, 2013--months before FCL

existed. (Id., PageID.329, Ex. 7 at 9). Accordingly, there was no conspiracy left to join by the

time FCL was formed. On its own allegations, Plaintiffs cannot reasonably contend that FCL

agreed to further a RICO conspiracy. In addition, the fact that the Amended Complaint alleges

that the individuals controlling FCL engaged in “racketeering activity” is insufficient to state a

RICO conspiracy claim against FCL itself: the relevant law requires that Plaintiffs allege specific

facts showing FCL, as an entity, agreed to further a RICO conspiracy. See Kerrigan v. Visalus,

Inc., 2016 WL 892804, at *10 n.13 (E.D. Mich. Mar. 9, 2016) (“The [corporate] Entity

Defendants are alleged to be wholly-owned and/or controlled by certain of the individual

Defendants, but Plaintiffs have not pleaded factual allegations to support a finding that these

entities entered into any agreement to violate Section 1962(c).”).

Charles Clark and Clark Construction

       Defendant Charles Clark is an individual Plaintiff alleges is a principal of defendant

Clark Construction (together, “Clark”). The allegations identified by Plaintiffs in their Exhibit 7

against Clark do not involve any actions or statements by them at all, let alone acts, words or

conduct indicating that they agreed to participate in criminal racketeering. (See Am. Compl.,

335, ¶ 114(b), Ex. 7 at 15.) These vague and conclusory statements do not allege much of
anything at all, let alone an illicit agreement by these entities to engage in a pattern of criminal
racketeering in violation of 18 U.S.C. § 1962(c).



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PageID.333-334, Ex. 7 at 14-15.) Plaintiffs’ allegations against Clark are that he worked with

Ferguson from time to time (Am. Compl., PageID.262, ¶¶61-63), that he was mentioned or

copied on correspondence exchanged between Ferguson and the Jeromes when they were

attempting to negotiate the ownership/control of Capital Gateway Project, LLC (id., PageID.269,

¶¶ 91, 94-95), that he participated in meetings regarding the Project where the Jeromes weren’t

present (id., PageID.275, ¶ 106), that Bernero told Jerome that Ferguson and Clark sat in his

office and asked the Mayor to cut the Jeromes out of the Project (id., PageID.275, ¶ 107), and

that he has participated in asking the Ingham County Board of Commissioners for public

financing. (Id., PageID.282, 334-335, ¶ 138, Ex. 7 at 14-15.)

       All of these allegations describe relatively innocuous or meaningless facts, paired with

conclusory allegations that they indicate Clark’s participation in a criminal conspiracy. The fact

that Clark was copied on a letter, or attended a meeting where the Plaintiffs were not present, is

meaningless and does not describe criminal activity. Similarly, Plaintiffs don’t explain how or

why it was wrongful or fraudulent for Clark to allegedly ask the mayor to “cut Plaintiffs out” of

the Project. Finally, if asking a governmental unit to provide public financing for a real estate

project is now considered a criminal act, then virtually every real estate developer in the state of

Michigan should expect to be indicted on RICO charges in the near future. These allegations

simply do not come close to alleging facts indicating a criminal agreement to participate in

predicate acts. See Sinito, 723 F.2d 1250, 1260-61; Hecht, 897 F.2d at 25.

Mayor Bernero, Robert Trezise, and LEAP – Red Cedar Project

       Mayor Bernero is the current mayor of the City of Lansing, and Robert Trezise is the

Chief Executive Officer of LEAP. (Am. Compl., PageID.252, ¶¶ 5, 7.) Plaintiffs’ Conspiracy

allegations against Bernero, Trezise, and LEAP rely on virtually identical theories and facts. The




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chart provided by Plaintiffs alleges that Plaintiffs had an ongoing dispute with Ferguson

regarding their respective control of and ownership stakes in Capital Gateway Project, LLC, over

the course of approximately one year (December 2012 to December 2013). (See Am. Compl.,

PageID.331-332, Ex. 7 at 11-12; Supplemental Chart for Trezise, Dkt. No. 73-1, PageID.384-

386.) As with Clark, Plaintiffs allege that the fact that the Mayor and/or Trezise were copied on

letters during these negotiations somehow evidences the Mayor’s and/or Trezise’s “knowledge

of and agreement to facilitate the operation of the Enterprise through a pattern of racketeering.”

(Id.) Plaintiffs then go on to allege that Bernero and/or Trezise met with the Jeromes and/or

Ferguson to try and facilitate a resolution of their ongoing equity dispute over ownership/control

of Capital Gateway Project, LLC.

       It is utterly absurd for Plaintiffs to characterize any of this conduct as indicative of these

defendants agreeing to participate in criminal racketeering. Again, the fact that the Mayor or

Trezise were copied on correspondence sent to Plaintiffs is meaningless, and does not suggest

that the Mayor or Trezise were somehow complicit in an undefined conspiracy with Ferguson to

allegedly defraud Plaintiffs. Similarly, the fact that the Mayor and/or Trezise unsuccessfully

attempted on several occasions to mediate a resolution between the Jeromes and Ferguson is not,

nor can it be indicative of, any criminal racketeering conduct. The Mayor and Trezise represent

the public entities that issued the RFQP (i.e., the City of Lansing and the LEDC), and the entire

purpose of the RFQP was to find a well-qualified and viable developer that the City could work

with constructively, in a collaborative process that might ultimately result in a mutually

acceptable development agreement. (See Ex. 1, RFQP at 6 (describing an “open, public, and

transparent planning process”), 7 (requesting information, qualifications, and references from the

developer) and 10 (reserving the City’s right to “disqualify any development team member(s)




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found to be unacceptable during development of the project”).) Under these circumstances,

where the process envisioned by the RFQP was stalled for months because the developer’s

owners are embroiled in a dispute regarding who controlled and owned the potential developer, it

is only to be expected that Bernero and Trezise would seek to advance the interests of the City

and the LEDC by attempting to mediate a resolution dissolving the logjam.

       Finally, Plaintiffs’ allegations that Bernero and/or Trezise “threatened” and then

ultimately decided to discontinue working with Capital Gateway Project, LLC and/or Plaintiffs,

is not an allegation that can be characterized as evidence of their complicity in any alleged

criminal racketeering by Ferguson.13 The RFQP explicitly and repeatedly stated that the

identification of a proposed developer (here, the Capital Gateway Project, LLC) “does not

constitute acceptance of its proposal” (RFQP at 9), and the City and the LEDC had the right to

(1) stop working with any developer at any time, (2) reject any and all proposals, (3) re-solicit

proposals for the Project, (4) revise the scope of the Project, (5) defer or abandon the Project,

and/or (6) negotiate with any developer. (RFQP at 12.) Plaintiffs had no property interest in the

process described in the RFQP, see Taylor, 313 F. App’x at 832, and even if they did, they

cannot accuse the City and/or LEAP of being parties to “an illicit agreement to violate the



13
  In an effort to make the “award” to Ferguson sound nefarious, Plaintiffs repeatedly
characterize it as being “on a no-bid basis,” paired with a conclusory allegation that in doing so
the City violated Chapter 206 of Lansing’s Ordinance. (Am. Compl., PageID.278, ¶ 118.)
Plaintiffs make no attempt whatsoever to explain how or why the City’s decision to work with
Ferguson but not with Plaintiffs violated the Ordinance. Lansing Ordinance 206.02 provides for
a bidding process applicable where the City purchases “supplies, service and construction items”
exceeding $15,000. By its terms Section 206.02 cannot apply here, because the RFQP is not an
offer by the City to purchase any “supplies, service[s], [or] construction items.” Rather, the
RFQP solicits proposals by developers interested in engaging in “a planning and negotiation
process” with the City, with the ultimate goal being that the City will eventually reach a
development agreement with and sell real property the City already owns to the developer.
(RFQP at 1.) Lansing Ordinance 206.02 governs procurement – i.e., the city purchasing (rather
than selling) items – and therefore it can’t apply here.


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substantive RICO provisions” based on those entities’ exercise of rights expressly reserved by

the City/LEDC under the unambiguous terms of the RFQP.14 See Sinito, 723 F.2d at 1260.

LEAP and Trezise – “Developer A”

       Finally, Plaintiffs make nebulous claims that Trezise and/or other LEAP officers acted in

a manner that harmed Plaintiffs in relation to Plaintiffs’ efforts to partner with “Developer A” on

an entirely different real estate project. Among other things, Plaintiffs claim that LEAP’s COO

told a Developer A representative that “it was probably best if the Jeromes were not involved”

with any potential development project, because it could undermine the project’s ability to obtain

approvals from the City, (Am. Compl., PageID.279, 333, ¶ 122, Ex. 7 at 13), and that Trezise

suggested that Developer A meet with Mr. Ferguson regarding this project. (Am. Compl.,

PageID.279, ¶ 124; Supplement, Dkt. No. 73-1, PageID.384-386.)

       Here, Plaintiffs again deviate far afield from what the RICO statute actually prohibits.

Nowhere do Plaintiffs describe any alleged predicate crimes committed by the RICO Defendants

relating to Developer A, and nowhere do Plaintiffs explain how or why the statements by

LEAP’s COO and/or CEO show the existence of an “illicit agreement” with Ferguson to commit

bribery, extortion, or mail/wire fraud. Indeed, as discussed above, Plaintiffs do not even allege

any acts of bribery, extortion, or mail/wire fraud relating to Developer A. RICO does not

criminalize making negative or disparaging statements about another person. Accepting

everything that Plaintiffs allege as true, they have failed to allege that LEAP and/or Trezise made


14
  Plaintiffs also vaguely allege that Trezise is working with Bernero, Clark and Kass “to
convince the Ingham County Board of Commissioners to bond an additional $35 million in
public tax dollars to fund the Project.” (Supplement, PageID.384-386, Dkt. No. 73-1 at 3; Am.
Compl., PageID.282, ¶ 138.) Taking this allegation at face value, Plaintiffs make no attempt to
explain how or why it is illegal or even inappropriate for the CEO of an economic development
nonprofit to be supportive of a developer’s request for bonding towards an economic
development project.


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an illicit agreement to violate 18 U.S.C. § 1962(c) by committing a pattern of criminal

racketeering relating to Developer A, in violation of RICO. See Sinito, 723 F.2d 1250, 1260-61;

Hecht, 897 F.2d at 25; Betulius, 1996 WL 900413, at *6.

III.   Count III Fails to Sufficiently Allege a Property Deprivation in Violation of Due
       Process.

       Count III of the Amended Complaint fails for reasons similar to those discussed in

Section I, supra. In Count III, Plaintiffs allege that they had a constitutionally protected property

interest in being chosen as a “selected developer,” and allege that Chris Jerome “invested time

and money to proceed toward development” after being identified as the “authorized agent” of

the developer. (Am. Compl., PageID.291, ¶¶ 186-187.) Plaintiffs allege that Defendants

Bernero, Trezise, and LEAP therefore unconstitutionally deprived them of a property right when

they “conspired to rescind the Plaintiffs’ selected Developer status.” (Id. ¶ 188.)

       First, these claims all fail for the reasons discussed in Section I.B above. Plaintiffs were

not the “selected developer,” and Christopher Jerome did not acquire any substantive property

rights from the mere fact that he was an agent of Capitol Gateway Project, LLC. (See Section

I.B, supra.)

       Second, the idea that the RFQP could confer any constitutionally protected property

interest on Plaintiffs is absurd on its face, and legally frivolous. “[A] party cannot possess a

property interest in the receipt of a benefit when the state's decision to award or withhold the

benefit is wholly discretionary.” EJS Properties, LLC v. City of Toledo, 698 F.3d 845, 856 (6th

Cir. 2012) (quoting Med Corp., Inc. v. City of Lima, 296 F.3d 404, 409 (6th Cir. 2002)). As

discussed, the RFQP explicitly stated that selection conferred no rights on the “selected

developer;” and repeatedly advised any developer submitting a proposal that the Public Entities

retained the right and full discretion to, among other things, negotiate with other developers,



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refuse to work with any developer, revise the Project, or abandon it completely. (RFQP at 1, 9,

12.) The RFQP unambiguously reserved the public entities’ full discretion as to whether to

move forward with any proposed Project with any developer, and therefore Plaintiffs cannot

assert that they – or anyone else – obtained a constitutionally protected property interest

thereunder as a matter of law.

       The absolute deficiency of Plaintiffs’ constitutional claim is further demonstrated by

Taylor Acquisitions LLC v. City of Taylor, 313 F. App’x. 826 (6th Cir. 2009). Like this case,

Taylor involved claims by a disgruntled developer after its real estate project with a city fell

apart. Unlike Plaintiffs, the developer in Taylor was at the final stages of project approval. Id. at

829. The city council had approved and executed an actual purchase agreement for the

developer to buy six city-owned parcels of land, had voted to approve several amendments to

facilitate the project, and had scheduled a meeting for final approvals needed to facilitate the

project, including the final site plan approvals and amendments to the zoning ordinance. Id. at

828-29. But before the meeting for final approvals occurred, a new mayor was elected who

terminated the entire project, without giving the developer any hearing or reason for the

termination. Id. at 829. The Taylor developer sued, claiming unconstitutional deprivation of its

alleged property rights in the purchase agreement and in the approvals. Id.

       The Sixth Circuit rejected these claims, finding that the developer had no constitutionally

protected property interest in building the proposed development. Id. at 832. “Insofar as

[developer] argues that it should have been permitted to develop the property, neither the

purchase agreement nor any equitable interest that could have vested in [developer] as a result

granted [developer] any such right.” Id. at 832 (emphasis in original).




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       Here, Plaintiffs’ claims are even weaker than those of the unsuccessful Taylor developer.

Plaintiffs do no allege that they had even started negotiating for an agreement to buy the property

from the City, nor do they claim that they had obtained any necessary approvals for their

proposed project. “[A] property interest cannot arise where a decisionmaker’s power is wholly

discretionary.” Taylor, 313 F. App’x. at 832. Here, the alleged Project was entirely preliminary,

and faced many layers of decisions by the City that were wholly discretionary, such as whether

and on what terms the City would agree to sell the property, and to whom, the scope of the

proposed project and whether the City would grant necessary zoning changes and/or land use

approvals.

       Plaintiffs admit as much, describing their property interest as the right to “enter into a

planning and negotiation process with the LEDC and the City [of Lansing] ...” (Am. Compl.,

PageID.260, ¶ 51) (quoting the RFQP). This fails to describe a property interest as a matter of

law, because “a person cannot have a property interest in a procedure itself,” Taylor, 313 F.

App’x. at 832 (citing Richardson v. Twp. of Brady, 218 F.3d 508, 518 (6th Cir. 2000)).

       Finally, the speculative innuendo peppered throughout the Amended Complaint

suggesting that the City’s decision not to work with Plaintiffs was the product of “corruption”

cannot save Plaintiffs’ due process claims. The Sixth Circuit has rejected specifically the

argument “that a benefit ceases to be discretionary depending on whether the discretion is

exercised free of corruption.” EJS Properties, 698 F.3d at 857. Under the foregoing precedent,

the facts set forth in the Amended Complaint fail to adequately allege that Plaintiffs were

unconstitutionally deprived of any property, and Count III fails as a matter of law.

IV.    Plaintiffs’ Tortious Interference Claims Must be Dismissed.

       Plaintiffs’ tortious interference claims in Count IV and V are deficient for many of the

same reasons already discussed, and fail to state claims as a matter of law.


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       A.      Plaintiffs Fail to Sufficiently Allege Tortious Interference under Count IV.

       Plaintiffs allege that Kass, Continental, and Hallmark (the “Count IV Defendants”)

tortiously interfered with two alleged business expectancies: their “business relationship and

expectancy with Joel Ferguson for the Project,” and their “business expectation and property

rights” associated with their “win of the RFQP” and “selection as the ‘selected developer.’”

(Am. Compl., PageID.294, ¶¶ 201, 203.)

       These contentions only rely on a handful of alleged facts. Plaintiffs vaguely allege that

they had a business relationship with Kass, and that under that relationship they entered into a

confidentiality agreement, pursuant to which Kass obtained unspecified information from the

Jeromes regarding the Project. (see Am. Compl., PageID.341, Ex. 7 at 21.) Plaintiffs allege that

Kass terminated its relationship with the Jeromes on June 29, 2012. (Id.) Subsequently, the

Count IV Defendants entered into a joint venture with Ferguson, which joint venture was

ultimately awarded the Project. (Id.) Plaintiffs generally allege (without any detail) that the

plans that the Count IV Defendants used to obtain the award of the Project “largely appropriate

in form and substance the proprietary plans and specifications originally developed by the

Jeromes and shared with [the Count IV Defendants] in reliance on the Confidentiality

Agreement.” (Id.) This constitutes the entirety of Plaintiffs’ tortious interference claim against

the Count IV Defendants. (See Am. Compl., PageID.341-342, Ex. 7 at 21-22.)

       This claim fails for three reasons: first, Plaintiffs do not sufficiently allege a business

expectancy; second, Plaintiffs fail to sufficiently allege that the Count IV Defendants wrongfully

or maliciously interfered with that alleged “expectancy;” and third, Plaintiffs’ claims under

Count IV sound (if anything) in breach of contract, and cannot be maintained as an independent

tort action under Michigan law.




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               1.      Plaintiffs Fail to Sufficiently Allege a Business Expectancy under the
                       RFQP as a Matter of Law.

       As a threshold matter, Plaintiffs cannot maintain any “expectancy” under the RFQP or as

“selected developer,” for all of the reasons discussed in Section I, supra. Plaintiffs were not

parties to the RFQP, and would not have obtained any property, contract, or other rights

thereunder even if they were. Similarly, Plaintiffs cannot claim that they had a business

expectancy with Joel Ferguson, based on vague references to the “various offers and operating

agreements” (Am. Compl., PageID.294, ¶ 201) that Plaintiffs mention throughout the Amended

Complaint. According to Plaintiffs’ own allegations, Plaintiffs did not want to work with

Ferguson at all, and the “various offers and operating agreements” wherein Ferguson offered “to

provide assistance ... in exchange for ... equity” (see id., PageID.267, ¶ 85) were allegedly all

fraudulent and made for the sole purpose of “stealing” the Project from Plaintiffs. (See, e.g., id.,

PageID.264-267, ¶¶ 71, 75, 76, 79, 82, 83, 85.)

       As previously discussed, the RFQP and Response do not even reflect what anyone could

call a “bid,” because they plainly are not bids, and contain no material terms whatsoever. But

even if the RFQP response was a “bid,” it would not create a business expectancy as a matter of

Michigan law. The Michigan Supreme Court recently analyzed the elements of tortious

interference in Cedroni Association, Inc. v. Tomblinson, Harburn Associates, finding that an

essential element of tortious interference is “the existence of a valid business relationship or

expectancy.” 821 N.W.2d 1, 3 (Mich. 2012). The Cedroni plaintiff was a contractor who –

unlike Plaintiffs – submitted an actual bid to a school on a public works project. Id. at 2. It was

the lowest bid, but the school nevertheless refused it. Id. The contractor sued the schools’

architecture firm, alleging that it had tortiously interfered with the contractor’s “expectation” that

it would be awarded the public works project as the lowest bidder. Id. at 2-3.



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       The Michigan Supreme Court unequivocally rejected the argument that the submission of

a proposal in the form of a bid creates a “business expectancy.” Cedroni, 821 N.W.2d at 3-5.

“In order to establish [a valid business expectancy], “‘[t]he expectancy must be a reasonable

likelihood or probability, not mere wishful thinking.’” Id. at 3 (quoting Trepel v. Pontiac

Osteopathic Hosp., 354 N.W.2d 341, 377 (Mich. Ct. App. 1984)). The Cedroni court stated that

“it is difficult to fathom how plaintiff’s submission of the lowest bid could have created a valid

business expectancy in light of the highly discretionary process of awarding governmental

contracts.” Id. The court found its conclusion further supported by the fact that the documents

provided by the school district before the contractor submitted his bid made perfectly clear that

submitting a bid created no business expectancy. Id. at 4. Among other things, the bid

instructions expressly stated that the school district “reserves the right to accept or reject any

offers.” Id.

       The Cedroni opinion also discussed with approval Mago Constr. Co. v. Anderson,

Eckstein & Westrick, No. 183479, 1996 WL 33348794 (Mich. App. 1996). In Mago, the court

rejected a tortious interference claim in the context of a bid for a public works project, finding

that “the award of the contract was a highly discretionary governmental activity in which too

many factors [were] in play to be able to reasonably infer that . . . plaintiff [by virtue alone of

being the lowest bidder] would have obtained the desired [contract].” Cedroni, 821 N.W.2d at 6

(quoting Mago). Because the school district in Cedroni retained a “broad discretionary right to

reject the lowest bidder, plaintiff could not have had a valid business expectancy.” Id. at 6; see

also EBI-Detroit, Inc. v. Detroit, 279 F. App’x. 340, 352 (6th Cir. 2008) (“Michigan courts have

already rejected the idea that a disappointed bidder has a valid business expectancy in a potential

government contract”).




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       Here, the RFQP and RFQP response are so preliminary in nature that they provide even

less basis for a claim than the bids submitted by the contractors in Cedroni and Mago. The

RFQP did not purport to solicit bids – it merely requested a broad and preliminary conceptual

proposal. Consistent with this, the RFQP Response does not propose or offer any essential

contract terms whatsoever. And, like the bidding instructions in Cedroni and Mago, the RFQP

fully reserves the right of the City and LEDC to discontinue the “planning and negotiation

process” with any selected developer, and sets forth a litany of reservations of rights and

disclaimers that have been previously discussed, including the right to “re-solicit proposals for

the project,” re-solicit or negotiate with “any” developer regarding the Project, and “defer or

abandon the project.” (RFQP at 12.)

       Plaintiffs cannot distinguish Cedroni and Mago. Under these cases, no reasonable

reading of the RFQP and RFQP Response can lead to the conclusion that Plaintiffs obtained

anything more than “wishful thinking” that they would be awarded a comprehensive

development agreement or purchase agreement for the City’s property. At most, the Amended

Complaint reflects Plaintiffs’ “wishful thinking” that they would have successful negotiations

resulting in a contract with the City at some point in the distant future, which is insufficient to

state a valid business expectancy as a matter of law. Cedroni, 821 N.W.2d at 3.

               2.      Plaintiffs Fail to Sufficiently Allege any Tortious Acts.

       Plaintiffs also fail to state a claim under Count IV because they fail to allege that the

Count IV Defendants committed any tortious acts. As explained by the Michigan Court of

Appeals:




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       [O]ne who alleges tortious interference with a contractual or business relationship
       must allege the intentional doing of a per se wrongful act15 or the intentional
       doing of a lawful act with malice and unjustified in law for the purpose of
       invading plaintiff's contractual rights or business relationship. Under the latter
       instance, plaintiff necessarily must demonstrate, with specificity, affirmative acts
       by the interferor which corroborate the unlawful purpose of the interference.

Feldman v. Green, 360 N.W.2d 881, 886 (Mich. Ct. App. 1984) (per curiam) (emphasis added).

Plaintiffs “bear[] the burden of showing that the defendants’ acts were unlawful or

malicious and unjustified in law. ‘Unethical’ conduct alone does not meet this burden.”

Henslee, Monek & Henslee v. D.M. Cent. Transp., Inc., 870 F. Supp. 764, 767 (E.D. Mich. 1994)

(emphasis in original).

       Plaintiffs’ tortious interference theory fails for many of the same reasons Plaintiffs’

conspiracy claims fail. First, nothing described by Plaintiffs alleges a per se wrongful act by the

Count IV Defendants, or that they acted with malice and without justification in law to invade

any legitimate business expectancy of Plaintiffs. Plaintiffs had no legitimate business

expectancy in the Project, and the mere fact that Kass formerly worked with the Jeromes on the

Project, and then over a year later partnered with Ferguson instead, does not sufficiently allege

any “per se wrongful” or malicious act. See BPS Clinical Labs. v. Blue Cross & Blue Shield of

Michigan, 552 N.W.2d 919, 925 (Mich. Ct. App. 1996) (“Where the defendant’s actions were

motivated by legitimate business reasons, its actions would not constitute improper motive or

interference”). Plaintiffs have failed to sufficiently allege any unlawful or malicious conduct by

the Count IV defendants, and Count IV necessarily fails.




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  “A ‘per se wrongful act’ is an act that is inherently wrongful or one that is never justified
under any circumstances.” Formall, Inc. v. Cmty. Nat. Bank of Pontiac, 421 N.W.2d 289, 293
(Mich. App. 1988)


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               3.      Plaintiffs Cannot Maintain an Independent Tort Action for What Amounts,
                       if Anything, to a Breach of Contract Claim.

       Plaintiffs’ tortious interference theory under Count IV is based on the vague assertion

that Kass “misappropriate[d] the Jeromes’ intellectual property” in a manner that violated a

confidentiality agreement between Kass and Plaintiffs. (Am. Compl., PageID.341-342, Ex. 7 at

21-22.) If that’s the case, then Plaintiffs’ remedy is to file breach of contract claims pursuant to

that agreement. Michigan law does not allow them to maintain a tort action for what is in

substance a breach of contract claim. Hart v. Ludwig, 79 N.W.2d 895, 897 (Mich. 1956)

(holding that an action sounding in tort cannot be founded on nonfeasance in performance of a

contract); QQC, Inc. v. Hewlett-Packard Co., 258 F. Supp. 2d 718, 722 (E.D. Mich. 2003)

(dismissing tort claims as not actionable under Michigan law, where the tort claims “simply

alleg[e] that Defendant breached certain contractual confidentiality provisions,” and such claims

would not exist in the absence of the contract between the parties).

       In short, Plaintiffs’ tortious interference claim under Count IV fails to state any

actionable claim as a matter of law for numerous reasons, and must be dismissed.

       B.      Plaintiffs Fail to Sufficiently Allege Tortious Interference under Count V.

       The tortious interference claim against LEAP, Trezise, and Ferguson in Count V of the

Amended Complaint fails for similar reasons. Here, Plaintiffs vaguely allege that they had a

“business expectancy and relationship” with an unidentified third party that they call “Developer

A,” “for the sale and development of one of the Jeromes’ parcels as a stand-alone $90 million

project.” (Am. Compl., PageID.279, 344, ¶ 121, Ex. 7 at 24.) Plaintiffs allege that in March

2014, LEAP’s Chief Operating Officer “informed Developer A that Jeromes’ involvement in the

project would risk losing the necessary government approvals.” (Id., Ex. 7 at 24.) Plaintiffs

allege that over a year later, on May 7, 2015, Trezise “told the Developer A representatives that



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Mayor Bernero wanted them to meet with Joel Ferguson” regarding the anticipated development.

(Id., PageID.279, 344, ¶ 124, Ex. 7 at 24.) Finally, Plaintiffs allege that “in May and June 2015,

Ferguson met with Developer A and threatened Developer A into not following through on the

proposed development on the Jerome parcel to the detriment of Jeromes.” (Id., PageID.279-280,

345, ¶¶ 125-131, Ex. 7 at 25.) According to Plaintiffs, “as a result of Ferguson’s threats and

demands, the Jeromes lost a business expectancy and opportunity with Developer A.” (Id.,

PageID.345, Ex. 7 at 25.)

               1.     Plaintiffs Fail to Sufficiently Allege a Business Expectancy with Developer
                      A as a Matter of Law

       Plaintiffs’ vague and ambiguous allegations under Count V fail to state a tortious

interference claim against the Count V Defendants as a matter of law. Like the tortious

interference claim in Count IV, the allegations underlying this count fail to demonstrate a

legitimate business expectancy that rises to “a reasonable likelihood or probability, not mere

wishful thinking.” Cedroni, 821 N.W.2d at 3.

       Here, the Amended Complaint is so vague that it is impossible to determine what

Plaintiffs’ business expectancy with “Developer A” allegedly was. Plaintiffs theoretically assert

two expectancies: their expectancy to partner with Developer A on a development project, and

their expectancy in that project. But Plaintiffs do not identify who “Developer A” is, nor do they

describe any specific negotiations, discussions, proposals, or contracts under which they

expected to partner with “Developer A” on a project. Plaintiffs also fail to describe what the

alleged “$90 million project” was, what stage of development it was in, or whether it would have

complied with local ordinances, provided a return on investment, or was otherwise viable or

likely to happen. Furthermore, Plaintiffs admit that they ultimately did make a different deal

with “Developer A,” because they sold the property to them. (Am Compl., PageID.279, ¶ 123.)



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The only conclusion that can be drawn from Plaintiffs’ deficient and vague pleading is that they

are unable to allege facts demonstrating a legitimate business expectancy, because their initial

discussions with “Developer A” were too preliminary to result in anything beyond “mere wishful

thinking.” Cedroni, 821 N.W.2d at 3.

       Plaintiffs also cannot claim that Ferguson interfered with their alleged business

expectancy by “threatening” Developer A that if the Jeromes were involved, he would cause

governmental entities to deny approvals. Even if Ferguson was capable of, and had in fact

followed through on such alleged “threats,” the Michigan Supreme Court has rejected the notion

that a third party can be liable for tortious interference for procuring an adverse decision by a

governmental entity, where that entity’s decision is entirely discretionary. “In terms of whether a

valid business expectancy is created, a plaintiff's expectations are entirely the same regardless of

whether it alleges that the government has wrongfully denied it the contract or, as here, that a

third party has interfered and caused a denial of the contract” Cedroni, 821 N.W.2d at 3–4.

Plaintiffs have not sufficiently alleged any business expectancy with “Developer A” or the

alleged second “project” as a matter of law.

               2.      Plaintiffs Fail to Sufficiently Allege any Tortious Acts Relating to
                       Developer A.

       As with Plaintiffs’ Count IV claims, Plaintiffs have failed to allege any malicious or

wrongful acts by the Count V Defendants relating to Developer A. Taking the allegations as

true, the fact that LEAP’s COO offered his opinion to Developer A that the Jeromes’

involvement in the project would risk losing the necessary government approvals does not, and

cannot, constitute a tortious act. See Lakeshore Cmty. Hosp., Inc. v. Perry, 538 N.W.2d 24, 27

(Mich. Ct. App. 1995) (noting that “expressions of opinion are protected from defamation

actions . . . including actions alleging interference with business”); see also Saab Auto. AB v.



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Gen. Motors Co., 770 F.3d 436, 442 (6th Cir. 2014) (finding that statements motivated by

legitimate business concerns “do not constitute improper motive or interference”). Likewise,

there is nothing wrongful or malicious in Trezise suggesting that Developer A meet with Joel

Ferguson. Nowhere do Plaintiffs explain how this suggestion was allegedly illegal, wrongful, or

malicious.

       Finally, the substantive allegations against Joel Ferguson regarding Developer A border

on the incoherent. Plaintiffs allege that Ferguson met with Developer A and “threatened

Developer A into not following through on the proposed development on the Jerome parcel to

the detriment of Jeromes,” and “told Developer A that the project was dead” unless certain

conditions were met. (Am. Compl. PageID.354, Ex. 7 at 25.) Plaintiffs do not allege that

Ferguson owned or otherwise controlled the Jerome property, so his alleged “threats” to “not

follow[] through on the proposed development on the Jerome parcel” or to “kill” the project do

not make any logical sense. (Id.) Plaintiff cannot satisfy Fed. R. Civ. P. 8 requirements by

alleging in a vague and conclusory fashion that Ferguson has political influence, and therefore

can, in some unexplained fashion, “force” the City of Lansing or other governmental entities to

withhold approvals for any given development project. The plausibility standard of Rule 8

demands more than Plaintiffs’ conclusory accusations of corruption paired with innuendo and

speculation. See Twombly, 550 U.S. at 555-56; Iqbal, 556 U.S. at 678. Plaintiffs have failed to

state a claim for tortious interference under Count V as a matter of law.

V.     Defendants Bernero, LEAP, and/or Trezise Are Entitled to Immunity.

       Plaintiffs allege that Bernero is the Mayor of Lansing, that LEAP “acts as an agent of or

on behalf of the Lansing city government,” and that Trezise is LEAP’s CEO. (Am. Compl.

PageID.252, ¶¶ 5-7.) The claims against Bernero and Trezise in Count III arise from actions




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taken in their official roles: the alleged interference with Plaintiffs’ alleged “development

rights.”

           To establish their procedural due process claim under Count III, Plaintiffs must show that

“‘(1) [they] had a . . . property interest protected by the Due Process Clause; (2) [they were]

deprived of this protected interest; and (3) the state did not afford [them] adequate procedural

rights prior to depriving [them] of the ... interest.’” Jasinski v. Tyler, 729 F.3d 531, 541 (6th Cir.

2013 (quoting Women's Med. Prof'l Corp. v. Baird, 438 F.3d 595, 611 (6th Cir. 2006)). To

overcome the additional hurdle of qualified immunity, Plaintiffs must allege the violation of a

constitutional right that is clearly established. Jasinski v. Tyler, 729 F.3d 531, 538 (6th Cir.

2013); see also Cullinan v. Abramson, 128 F.3d 301, 309-10 (6th Cir. 1997).

           Bernero and Trezise are entitled to qualified immunity because, as demonstrated above,

Plaintiffs had no protected property interest to vindicate under the RFQP, RFQP Response, or

with respect to Developer A as a matter of law. For a right to be clearly established for purposes

of qualified immunity, “the contours of the right must be sufficiently clear that a reasonable

official would understand that what he is doing violates that right.” Waeschle v. Dragovic, 576

F.3d 539, 550 (6th Cir. 2009) (quoting Durham v. Nu’Man, 97 F.3d 862, 866 (6th Cir. 1996)).

When the alleged property right is state-created, courts will look to state law to determine

whether the underlying property interest is sufficiently clear under state law. See Dragovic, 576

F.3d at 550.

           Here, Plaintiffs cannot cite any legal authority that would put Bernero and Trezise on

notice that Plaintiffs had a protected property interest. As discussed above, Michigan law in fact

refutes any notion that Plaintiffs acquired any protected property rights under the RFQP or RFQP

Response, or with respect to “Developer A.” Accordingly, Bernero and Trezise could not have




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understood that their alleged actions set forth in the Amended Complaint violated any property

rights held by Plaintiffs, and are therefore entitled to qualified immunity. Dragovic, 557 F.3d at

379.

       Alternatively, Mayor Bernero is entitled to absolute immunity, because the “official

action” that Plaintiffs complain about consists of Bernero’s failure to support the various

agreements, ordinance changes, and other legislative approvals that would have authorized

Plaintiffs’ proposed Project. See Am. Compl., PageID.276, ¶ 110 (describing the City Council’s

ability “to derail the project”). “‘Absolute legislative immunity attaches to all actions taken ‘in

the sphere of legitimate legislative activity.’” Bogan v. Scott–Harris, 523 U.S. 44, 54 (1998)

(quoting Tenney v. Brandhove, 341 U.S. 367, 376 (1951)). “Absolute immunity extends to local

mayors who are acting in official legislative capacity, and passing an ordinance is an example of

an action taken in official legislative capacity.” Tucker v. City of Richmond, Ky., 388 F.3d 216,

224 (6th Cir. 2004) (internal quotations omitted). For these reasons, even if Plaintiffs could

overcome all of the fatal flaws with their Amended Complaint discussed above, Bernero and

Trezise must be dismissed based on qualified and/or absolute immunity.

                                         CONCLUSION

       The Amended Complaint’s exhausting and voluminous allegations reflect nothing more

than Plaintiffs’ effort to mask the severe and fundamental defect underlying all of their claims:

that Plaintiffs obtained no rights under the RFQP and RFQP Response whatsoever, and never

acquired any legally protected interest in the Project. No conclusory allegations, innuendo, or

rhetorical flourishes can overcome this indisputable fact. Plaintiffs lack standing to pursue this

action and have failed to state any claim upon which relief may be granted as a matter of law.

Accordingly, Defendants respectfully request that this Court dismiss the Amended Complaint in

its entirety and with prejudice.


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